Case 1:23-cv-00822-ADA Document 27-16 Filed 12/22/22 Page 1 of 2




         Exhibit	  W	  
12/14/22, 12:16 PM     Case 1:23-cv-00822-ADA
                                            tokyoDocument          27-16 International
                                                 airport to Austin-Bergstrom Filed 12/22/22          Page
                                                                                       Airport - Google Maps 2 of 2




                                           Haneda Airport to Austin-Bergstrom International Airport




                                                                             Map data ©2022 Google, INEGI          1000 mi



                     Tokyo, Japan—Austin, TX
                     Connecting (1 or more stops)                          14 hr 20 min+
                     Round trip price, Dec 31, 2022 – Jan 4, 2023from $1,268
                     Delta, United, ANA…

                         See results on Google Flights



      Explore Austin-Bergstrom International Airport




      Restaurants           Hotels              Bars              Coffee             More



                                             Measure distance
                                             Total distance: 6,567.59 mi (10,569.51 km)



https://www.google.com/maps/dir/tokyo+airport/Austin-Bergstrom+International+Airport+(AUS),+3600+Presidential+Blvd,+Austin,+TX+78719/@27.2746386,163.…   1/1
